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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

NOVO NORDISK INC. and
NOVO NORDISK PHARMA, INC.,

Plaintiffs,

* No. 3:23-cv-20814-ZNQ-JBD

XAVIER BECERRA,

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES, CHIQUITA BROOKS-
LASURE, and CENTERS FOR MEDICARE
AND MEDICAID SERVICES,

Defendants.

ORDER
Upon consideration of the parties’ Joint Motion to Set a Briefing Schedule and for Related
Relief, itis ORDERED that the following schedule shall govern further proceedings in this case.

° December 8, 2023: Plaintiffs will file a memorandum in support of their
forthcoming motion for summary judgment, not to exceed 60 pages.

° January 26, 2024; Defendants will file a combined memorandum in
support of their own cross-motion for summary judgment, and opposing
Plaintiffs’ motion, not to exceed 80 pages.

. February 23, 2024: Plaintiffs will file a combined reply in support of
their motion and opposition to Defendants’ cross-motion by February
23, 2023, not to exceed 40 pages.

e March 22, 2024: Defendants will file a reply in support of their cross-
motion, not to exceed 30 pages.

It is further ORDERED that (1) the parties need not file statements of fact under Local
Civil Rule 561.(a), (2) Defendants need not file an answer to the complaint, and (3) Defendants
need not file an administrative record.

SO ORDERED oo, oe

HID N. OURA SHI
UNITED STATES\DISTRICT JUDGE

